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 1     CUAUHTEMOC ORTEGA (Bar No. 257443)
       Federal Public Defender
 2     LAKESHIA DORSEY (Bar No. 291685 )
       E-Mail: lakeshia_adeniyi-dorsey@fd.org
 3     Deputy Federal Public Defender
       321 East 2nd Street
 4     Los Angeles, California 90012-4202
       Telephone: (213) 894-2854
 5     Facsimile: (213) 894-0081
 6     Attorneys for Defendant
       YUSUF ANIFOWOSHE
 7
 8                              UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12     UNITED STATES OF AMERICA,                 Case No. 21-CR-00203-ODW-6
13                 Plaintiff,
                                                 STIPULATION TO ADOPT
14           v.                                  PROPERTY BOND FILED IN
                                                 THE EASTERN DISTRICT OF
15     YUSUF ANIFOWOSHE ,                        NEWYORK
16                 Defendant.
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 1           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, United
 2     States of America, by and through its attorney of record, Assistant United States
 3     Attorney Khaldoun Shobaki, and defendant Yusuf Anifowoshe, by and through his
 4     attorney of record, Deputy Federal Public Defender Lakeshia M. Dorsey, that the
 5     following conditions of pretrial release be modified as follows:
 6           (1) The court to adopt the previous property bond executed in the Eastern District
 7              of New York (see Exhibit A).
 8           (2) Accordingly, the parties agree that no further action needs to be taken to
 9              secure the property bond.
10                                             Respectfully submitted,
11
                                               CUAUHTEMOC ORTEGA
12                                             Federal Public Defender
13
14     DATED: November 15, 2021             By /s/ Lakeshia M. Dorsey
15                                            LAKESHIA M. DORSEY
                                              Deputy Federal Public Defender
16                                            Attorney for YUSUF ANIFOWOSHE

17
18                                             TRACY WILKISON
                                               Acting United States Attorney
19
20     DATED: Noember 15, 2021              By /s/ Khaldoun Shobaki (via email authorization)
21                                            KHALDOUN SHOBAKI
                                              Assistant United States Attorney
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 1                         DECLARATION OF ELIUD E. GALDAMEZ
 2
 3           I, Eliud Galdamez, declare:
 4           1.     I am a paralegal in the trial unit of the Office of the Federal Public
 5     Defender, where I have been employed since 2007.
 6           2.     I have been assigned to assist with the bond posting for defendant Yusuf
 7     Adekinka Anifowoshe.
 8           3.     In connection with the preparation of Mr. Anifowoshe’s property bond, I
 9     have been in contact with Daniel Silverburg, Title Project Manager at First Corporate
10     Solutions, Inc.
11           4.     Mr. Silverburg has previously produced Lot Book Reports for bond
12     posting in the Central District of California.
13           5.     On or about October 4, 2021, I contacted Mr. Silverburg, via email,
14     regarding the property located at 2480 Brigham Street, Brooklyn, New York, 11235.
15     More specifically, whether there were any documents related to a $300K bond from the
16     Supreme Court of the State of New York.
17           6.     Mr. Silverburg informed me that he found a Confession of Judgment filed
18     at the County Clerk’s Office in New York. Mr. Silverburg also attached a copy of the
19     Confession of Judgment (attached hereto).
20           7.     I reviewed the Confession of Judgment and the docket found in the U.S.
21     District Court, Eastern District of New York. The judgment and the docket each
22     contained the following information: United States of America v. Yusuf Adekinka
23     Anifowoshe, 21 MJ 00849-PK, $300,000.00 bond amount.
24           8.     Mr. Silverburg informed me that the Confession of Judgment would
25     appear on a Title Report.
26     //
27     //
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 1           9.     Based upon my training and experience, because a bond has already been
 2     filed in the Eastern District of New York, perfecting an additional bond in the Central
 3     District of California would effectively result in a 600K lien against the property.
 4
 5           I declare under penalty of perjury under the laws of the United States of America
 6     that the foregoing is true and correct.
 7           Executed on November 15, 2021, at Los Angeles, California.
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 9                                               /s/ Eliud E. Galdamez                        .
                                                 ELIUD E. GALDAMEZ
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 1                           DECLARATION OF LAKESHIA DORSEY
 2             I, LAKESHIA DORSEY, declare:
 3             1.     I am an attorney with the Office of the Federal Public Defender for the
 4     Central District of California. I am licensed to practice law in the State of California
 5     and I am admitted to practice in this Court. I am submitting this declaration in support
 6     of Mr. Yusuf Anifowoshe’s request to modify the property bond in the instant case.
 7             2.     Undersigned counsel and paralegal Eluid Galdamez have worked
 8     diligently to perfect a property bond in the Central District of California (CDC).
 9             3.     Unfortunately, in order to perfect a property bond in the CDC, there would
10     be two separate property liens on Ms. Anifowoshe’s home. This would amount to a
11     $600,0001 lien on the property instead of $300,000 as ordered by the Court.
12             4.     Undersigned counsel spoke with a paralegal from the Eastern District of
13     New York (EDNY) who represented that “property bonds” are not docketed in the
14     EDNY and the parties and the Court simply rely on the “Confession of Judgment”
15     which contains the index number.
16             5.     Accordingly, the parties stipulate to “adopt” the bond that has already been
17     posted/satisfied in New York.
18             6.     Undersigned counsel has communicated with counsel for the government
19     and the government does not object to adopting the bond.
20
21             Executed on November 15, 2021, at Los Angeles, California.
22
23                                              /s/ Lakeshia Dorsey          .
                                                LAKESHIA DORSEY
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           Aside from this, Ms. Anifowoshe does not have $600,000 of equity in her property.
                                                      1
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            Exhibit A
FILED: KINGS COUNTY CLERK 09/23/2021 03:56 PM                                                                                                               INDEX NO. 524216/2021
NYSCEF DOC.Case
            NO. 2:21-cr-00203-ODW
                1                 Document 82 Filed 11/19/21 Page 7 ofRECEIVED
                                                                       8 Page NYSCEF:
                                                                               ID #:429 09/23/2021




             SUPREME               COURT            OF THE          STATE           OF NEW YORK
             COUNTY               OF KINGS

                                                                                                   X
             UNITED              STATES         OF AMERICA,                    index    No.


                                                           Plaintiff,                                                                        AFFIDAVIT               OF
                                       - against-                                                                                            CONFESSION                   OF

                                                                                                                                             JUDGMENT
             TINA        ANIFOWOSHE,


                                                      Defendant




             STATE        OF NEW           YORK             )
                                                           : ss :
             COUNTY              OF KINGS)


                          TINA         ANIFOWOSHE,                being      duly    swom,       depose      and say:


                          The      deponcat(s)         are the named           defendant(s)        herein.


                          The     defendant(s)          hereby   confesses  judgesiient                herein      and authorize     entry    thereof      against
             defendant           in the sum         of $300,000.00     (HREEHUNDRED                        THOUSAN             DOLLARS).


                      Defendant(s)               resides     at 2480         Brigham     Stret    Bmoklyn,           NY 11235        in the County of Kings,
             State of New York.                 Defendant(s)            authorize      ency    of Judgment          in Kings      County,   New York,  is said
             residence       address         in New York            State.


                          This     confession         of judgement           is for a debt justly         to become          due to the Plaintiff       arising      fmm
             the following          facts:


                          The      defendant(s),        TINA        ANIFOWOSHE                has executed          a bail    bond   in the Eastern       District     of
             New    York         in the case of
             (21mj849).          The     defendant(s)   has executed    this affidavit                    and authorizes  entry of judgement    against
             them   in the amount            of $300,000.00    to secure the United                       States in the event that Yusuf Adekikna
             Anifowoshe           beaches           the terms     and c::f!±:s            of his bail      in such a manner    as forfenüre  of his bail
            is duly oniered by the court.   In :dditier:,     Tina Anifowoshe      expressly waives   any rights she may
            have under the Homestead      Exempdar,       pursuant   to Article 52 of the New York City Civil     Practice
            Law and Rules.   The property    being posted to secute the bail is located        at, 2480 Brigham    Street
            Brooklyn,   NY 11235 and this judgement          is to be obtained   from said property.




                                                                                         1 of 2
FILED: KINGS COUNTY CLERK 09/23/2021 03:56 PM                                                                                 INDEX NO. 524216/2021
NYSCEF DOC.Case
            NO. 2:21-cr-00203-ODW
                1                 Document 82 Filed 11/19/21 Page 8 ofRECEIVED
                                                                       8 Page NYSCEF:
                                                                               ID #:430 09/23/2021




                         The   defendant(s),    TINA     ANIFOWOSIIE,        represents   that title   for this pmperty   is solely   and
              excl             in the name     of TINA    ANIFOWOSIIE.




              TINA     ANIFOWOSHE




              All                                                           JustineJames
                     wom to befom me this
              OL                                                                 STATE  OF NEW YORK
                        d ay of August, 2021                   NOTARY PUBLIC,       01JA6195994
                                                                   Registration No.
                                                                             Kings County
                                                                                      November 3. 2024
                                                                Commission Expims
                                         T                          .----
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                      RY PUBLIC




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